Case 2:19-cr-00051-TOR ECFNo. 63 filed 05/11/23 PagelD.210 Page 1 of 6

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Case 2:19-cr-00051-TOR ECF No. 63 _ filed 05/11/23 PagelD.211 Page 2 of 6
Case 2:19-cr-00051-TOR ECFNo. 63 filed 05/11/23 PagelD.212 Page 3 of 6

Superior Court of Washington, County of Spokane

No. 23-2-00564-32
Katia V Diaz Mendoza i ° .

 

 

Petitioner DOB Declaration of

Ve Kenny Heaton
(DCLR)

Jackson Daniel Bowers 7

Respondent DOB

 

This declaration is made by:
Name: Kenny Heaton

Age: 47

Relationship to the parties in this action: Jackson’s sister's husband

| declare,

On December 16, 2022, me. my wife, Jackson, Val (aka Katia), i went.
to Coeur d’ Alene to go on the Santa Cruise and have dinner. When we got to the restaurant,
we all sat down and ordered our food. Everyone was laughing and enjoying getting in the
holiday spirit. At one point Jackson got up to go outside to smoke a cigarette. He left and just a
few minutes later Val got up to go outside also. Both children jumped up and grabbed onto Val
begging her to leave Daddy alone and sit down with them. She refused, handed the kids her
phone to play on and stormed outside. | was concerned so shortly after | went outside for a
smoke. Jackson was outside already smoking. | looked at him and noticed the side of his face
was red and he looked like he had been punched. | asked what happened, he said that Val had
slapped him. | asked why and he said that she said he was looking at the wait staff. Everyone
sat down and had dinner. We all drove together so my wife and myseff tried to smooth the
situation over before we dropped them off. Val was very agitated and appeared to be ready to

fight. Jackson sat in the back seat with me. and he commented that once we got home, he was
going to leave and go ce from his mother’s house so that he could avoid more conflict

 

 

RCW 7.105.200, .235, .500 Declaration (OCLR)
(07/2022) p. 1 of 2
PO 018

d by the WA Spokane County Superior Court.

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Case 2:19-cr-00051-TOR ECFNo. 63 _ filed 05/11/23 PagelD.213 Page 4 of 6
Case 2:19-cr-00051-TOR ECFNo. 63 _ filed 05/11/23 PagelD.214 Page 5of6

with her, | know that Jackson has worked very hard to understand and reassure Val. He also

has made many steps to be the father those children need. At times she has made this very
difficult, however, he has made it his priority to take care of his children. This is just one of many
different situations that happens frequently. Jackson has spent a lot of time trying to diffuse Val.
The night that she called the cops, she didn’t call the cops when he was there. She called the
cops because he left, and she wanted to punish him for leaving. He had a friend with him that.
she demanded leave. She didn’t want him to leave. She wants to control him, and he just wants
to be a father to his children.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Attach additional single-sided pages if necessary and number them. Use form PO 010,
Statement.)

| certify under penalty of perjury under the laws of the state of Washington that the foregoing is
true and correct. [] | have attached (number of pages) pages.

 

   
 

Signed at Spekane,

Kenny Heaton

 

 

Signatére apne Print or Type Name
RCW 7.105.200, .235, .S00 Declaration (DCLR)

(07/2022) p. 2 of 2

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d by the WA Spokane County Superior Court.

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Case 2:19-cr-00051-TOR ECFNo. 63 filed 05/11/23 PagelD.215 Page 6 of 6

AQIB6-B:

DEFENDANT’S
EXHIBIT

CASE

No. 1G-CR- 5|- Tok
EXHIBIT -

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